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                                                             ELECTRONICALLY FILED
                                                             DOC #:
                                                             DATE FILED: 11/6/2020


                                                                            MEMO ENDORSED
 NEW JERSEY OFFICE                                                          NEW YORK OFFICE
 130 POMPTON AVENUE                                                         48 WALL STREET, 5TH FLOOR
 VERONA, NJ 07044                                                           NEW YORK, NY 10005
 (973) 239-4300                                                             (646) 779-2746

                                     LORRAINE@LGRLAWGROUP.COM
                                        WWW.LGAULIRUFO.COM
                                         FAX: (973) 239-4310


                                                                                 November 3, 2020
Via Email
Filed Under Seal

 The Honorable Valerie E. Caproni
 United States District Court Judge
 Thurgood Marshall US Courthouse
 40 Foley Square
 New York, NY 10007

                       Re: United States v. Burgos et al., (Odalys Rojas)
                           20 cr 182 (VEC)
 Dear Judge Caproni:

         I represent Odalys Rojas in the above matter. Your Honor has scheduled an “in person”
 sentencing hearing for Mr. Rojas for Thursday, November 12, 2020. I am respectfully requesting
 that the hearing be conducted via video conference, just as his plea hearing was conducted on July
 23, 2020. Mr. Rojas’ health is deteriorating, and considering the COVID-19 pandemic, he is
 concerned to conduct this hearing in court. Assistant United States Attorney Julianna Murray has
 no objection to this request. I am enclosing the attached signed waiver of his presence in court,
 that I have reviewed thoroughly with Mr. Rojas, and to which he has authorized me to sign on his
 behalf, should Your Honor grant this request. Your Honor’s time and consideration of this
 request is greatly appreciated. Please advise if Your Honor requires any additional documents or
 information to support this request.



                                                     Respectfully submitted,
                                                    s/
                                                     Lorraine Gauli-Rufo
                                                     Attorney for Odalys Rojas
 Enclosure
cc: Juliana Murray, AUSA
(with enclosure)
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Application DENIED. The Court sympathizes with Mr. Rojas' health conditions and his concerns about
contracting COVID-19. But the Court also recognizes the importance of conducting criminal proceedings --
especially sentencings -- in person. The Court ensures the Defendant that the Southern District of New York
("SDNY") has taken many precautions to mitigate the risk of contracting the coronavirus at the courthouse.
These measures are outlined in SDNY Standing Order 20 MC 138, last updated on October 26, 2020.

SO ORDERED.



                              Date: November 6, 2020
HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE
